        Case 1:15-cv-13367-ADB Document 199 Filed 01/25/21 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                       FOR DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA,         )
                                   )                  Case No. 15-cv-13367-ADB
         Plaintiff,                )
                                   )
         v.                        )
                                   )
 MONICA TOTH,                      )
                                   )
         Defendant.                )
 _________________________________)

                                  AMENDED JUDMGENT

       This matter has come before the Court upon the United States’ motion to alter or amend

the judgment that was entered on September 16, 2020 (ECF No. 176), following this Court’s

granting of the United States’ motion for summary judgment, also September 16, 2020 (ECF No.

175). The Court hereby enters the following amended judgment.

       JUDGMENT is entered for the United States and against Monica Toth, as a penalty under

31 U.S.C. § 5321(a)(5) for her willful failure to report her relationship with UBS, AG, on a

timely filed Report of Foreign Bank and Financial Accounts for the 2007 year, in the amount, as

of September 16, 2020, of $3,208,253.11 (which includes, in addition to the FBAR penalty

assessment of $2,173,703, a late-payment penalty imposed under 31 U.S.C. § 3717(e)(2) of

$886,601.95 and pre-judgment interest of $147,948.16).

       This judgment shall be reduced by a payment of $3,138,097.48 Defendant Monica Toth

made on October 28, 2020, and a payment of $87,985.19 that the government deems to have

been made on November 19, 2020, such that the debt reflected by this amended judgment has

been paid in full, as of November 19, 2020.
               Case 1:15-cv-13367-ADB Document 199 Filed 01/25/21 Page 2 of 2




SO ORDERED.

Date: January 25, 2021                                      /s/ Allison D. Burroughs
                                                            ALLISON D. BURROUGHS
                                                            U.S. DISTRICT JUDGE
